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                            UNITED STATES COURT OF APPEALS
                                FOR THE TENTH CIRCUIT
                                 OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
   Christopher M. Wolpert                                                           Jane K. Castro
   Clerk of Court                        March 25, 2021                         Chief Deputy Clerk




   Mr. Jeffrey P. Colwell
   United States District Court for the District of Colorado
   Office of the Clerk
   Alfred A. Arraj U.S. Courthouse
   901 19th Street
   Denver, CO 80294-3589

   RE:       20-1142, Tso v. Murray, et al
             Dist/Ag docket: 1:19-CV-00293-PAB-STV

  Dear Clerk:

  Pursuant to Federal Rule of Appellate Procedure 41, the Tenth Circuit's mandate in the
  above-referenced appeal issued today. The court's March 3, 2021 judgment takes effect
  this date.

  Please contact this office if you have questions.

                                                Sincerely,



                                                Christopher M. Wolpert
                                                Clerk of the Court
Case 1:19-cv-00293-PAB-STV Document 115 Filed 03/25/21 USDC Colorado Page 2 of 2
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   cc:     Allison R Ailer
           Sherri L. Catalano
           Jonathan Neal Eddy
           Kelly L. Kafer
           James D. Murdock II
           Richard Maxton Murray
           Amy Jean Packer
           Tory D. Riter
           Kevin Scott Taylor
           Gilbert T. Tso
           Valentine Uduebor
           Robert Wolf
           Eric Michael Ziporin
    CMW/na
